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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                  :
    In re:                                                        :   Chapter 11
                                                                  :
    ORION HEALTHCORP, INC1.                                       :   Case No. 8-18-71748 (AST)
                                                                  :
                          Debtors.                                :   (Jointly Administered)
                                                                  :
    HOWARD M. EHRENBERG IN HIS CAPACITY                           :
    AS LIQUIDATING TRUSTEE OF ORION                               :   Adv. Pro. No. 8-20-8052 (AST)
    HEALTHCORP, INC., ET AL.,                                     :
                                                                  :
                           Plaintiff,                             :
                                                                  :
    v.                                                            :
                                                                  :
    ABRUZZI INVESTMENTS, LLC; JOHN                                :
    PETROZZA,                                                     :
                  Defendant(s)                                    :
                                                                  :
                                                                  :

                          CASE MANAGEMENT AND DISCOVERY PLAN

             In order to promote the efficient and expeditious disposition of the above-captioned

adversary proceeding (the “Adversary Proceeding”), the parties submit the following schedule to

apply to the Adversary Proceeding. This Discovery Plan is submitted in compliance with the

Initial Scheduling Order issued by the Court on June 22, 2020, in accordance with Fed. R. Civ.

P. 16(b) and 26(f), and the hearing held in the Adversary Proceeding on May 26, 2021.


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.
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         1.     Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have been completed.

         2.     The parties have met and conferred regarding documents maintained in

electronic format. Plaintiff identifies the issue of the Debtors’ servers, some of which have

been coded into a searchable format while others which would require additional time and

expenditures.    The parties will cooperate to facilitate the exchange of relevant evidence

stored in any electronic format.

         3.     All fact discovery shall be completed no later than August 25, 2021.

         4.     The parties are to conduct discovery in accordance with the Federal Rules of

Civil Procedure ("Civil Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy

Rules") and the Local Rules of the Bankruptcy Court for the Eastern District of New York

("Local Bankruptcy Rules"). The parties anticipate discovery on the subject transfers,

product and services rendered, and the surrounding business dealings.

         5.     Expert discovery

                a.     All expert discovery shall be completed no later than November 1,

2021.

                b.     No later than September 2, 2021: (i) the party bearing the burden of proof

on any issue (including the issue of solvency, to the extent the Defendant intends to challenge the

statutory presumption of insolvency) shall make all disclosures required under Fed. R. Civ. P.

26 (a)(2); and (ii) all rebuttal or responsive expert reports and other disclosures required under

Fed. R. Civ. P. 26 (a)(2) shall be made no later than thirty (30) days thereafter.




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         6.     Mediation

         If the parties desire and agree to mediate their dispute(s) at any time during the pendency

of this adversary proceeding, they shall jointly file a stipulation (the “Stipulation”) with the

Court

         7.     Motions

                a.      All motions and applications shall be governed by the Civil Rules,

Bankruptcy Rules and Local Bankruptcy Rules, including pre-motion conference

requirements. Pursuant to the authority provided by Fed. R. Civ. P. 16(b)(2), a motion for

summary judgment will be deemed untimely unless a request for a pre-motion conference

relating thereto (see Local Bankruptcy Rule 7056-1) is made in writing within fourteen (14)

days after the close of fact discovery (see paragraph 3 hereof).

         8.     Trial

                a.      The Pretrial hearing is adjourned to October 5, 2021 at 2:00 pm EST and

which will be treated as a Pre-motion Conference as part of the parties’ requests to file motions

for summary judgment pursuant to LBR 7056-1(a).

         9.     This ORDER may not be modified or the dates herein extended, except by

further Order of this Court for good cause shown. Any application to modify or extend any

deadline established by this Order shall be made in a written application no less than five (5)

days prior to the expiration of the date sought to be extended.




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Dated: June 10, 2021

 PACHULSKI STANG ZIEHL & JONES LLP                     Giuliano Law, PC
 Attorneys for Plaintiff Howard M. Ehrenberg,          Counsel to Abruzzi Investments, LLC and John
 in his capacity of Liquidating Trustee of Orion       Petrozza
 Healthcorp, Inc., et al

 By:      /s/ Jeffrey P. Nolan                         By:      /s/ Anthony F. Giuliano
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                jnolan@pszjlaw.com


SO ORDERED:




                                                                  ____________________________
 Dated: June 16, 2021                                                       Alan S. Trust
        Central Islip, New York                                 Chief United States Bankruptcy Judge


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